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IN THE UNITED STATES DISTRICT COURT FOR THE MIDDLE
DISTRICT OF PENNSYLANIA

MUMIA ABU-JAMAL
Plaintiff,
Vv.
JOHN KERESTES, et al.

Defendants.

: Case No. 15-Cv-00967
: (RDM)(KM)

Judge Robert D. Mariani

: Magistrate Judge Karoline
: Mehalchick

: NOT ELECTRONICALL
: FILED

MOTION TO FILE MOTION UNDER SEAL

Plaintiff, by and through undersigned counsel, respectfully submits this motion

pursuant to Local Rule 5.8 and L.Cr.R 49 to file the accompanying motion under seal.

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FILED
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Respectfully submitted,

[s/ Bret D. Grote
Bret D. Grote

PA LD, No. 317273

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Counsel for Plaintiff

February 13, 2020
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IN THE UNITED STATES DISTRICT COURT FOR THE MIDDLE
DISTRICT OF PENNSYLANIA

MUMIA ABU-JAMAL : Case No. 15-Cv-00967
: (RDM)(KM)
Plaintiff, :
Judge Robert D. Mariani
V.
Magistrate Judge Karoline
JOHN KERESTES, et al. : Mehalchick
Defendants. : NOT ELECTRONICALLY
FILED
CERTIFICATION

Pursuant to Local Rule of Civil Procedure 7.1, undersigned counsel for Plaintiff
Mumia Abu-Jamal hereby certify that they sought and received concurrence in the
foregoing motion from counsel for all defendants in this action

Dated: February 13, 2020

/s/ Bret D. Grote
Bret D. Grote

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Pro hac vice

Counsel for Plaintiff

 
 

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CERTIFICATE OF SERVICE

I hereby certify that I served a copy of this Motion to file a motion undet seal
upon each defendant by sending a copy of the same to their counsel of record via first
class mail

Setvice First Class Mail:

For the DOC defendants
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For Correct Care Solutions Defendants:
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Dated: February 13, 2020

 
